              Case 4:07-cr-40029-JPG                  Document 287 Filed 02/19/09                        Page 1 of 6         Page ID
                                                                #882
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                              UNITED STATES DISTRICT COURT SOCL""k FEB 19 ~
                                                         Southern District of Illinois                           (j"/-f~~~~sDlsrRIC
                                                                                                                       B~N" "Rlcr r cO(j
                                                                                  JUDGMENT IN A CRIMINAL ~~§ftlg:ILLIN~s
                                                                         )
             UNITED STATES OF AMERICA                                    )
                                v.                                       )
                     JOHN G. JACKSON                                     )
                                                                         )        Case Number: 4:07CR40029-004-JPG
                                                                         )        USM Number: 19365-424
                                                                         )
                                                                         )         Gal Pissetzky
                                                                                  Defendant's Attorney
THE DEFENDANT:
It'pleaded guilty to count(s)        1 of the Indictment

o pleaded nolo contendere to count(s)
  which was accepted by the court.
o was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




 21 U.S.C. 846                   Conspiracy to Distribute & Possession with Intent to                       1/31/2007                   1



       The defendant is sentenced as provided in pages 2 through          __1_0__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)     -------------
                                                       o is       o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 da)'s of any chanEe of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material cnanges in economIC circumstances.




                                                                             J. Phil Gilbert                           District Judge
                                                                         Name of Judge                                Title of Judge
               Case 4:07-cr-40029-JPG                     Document 287 Filed 02/19/09                    Page 2 of 6           Page ID
AO 2458    (Rev. 09/08) Judgment in Criminal Case                   #883
           Sheet 2 - Imprisonment

                                                                                                         Judgment -   Page   _-=2,--- of   10
DEFENDANT: JOHN G. JACKSON
CASE NUMBER: 4:07CR40029-004-JPG


                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
  78 months on Count 1 of the Indictment




     o The court makes the following recommendations to the Bureau of Prisons:



     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
          o at                                      0     a.m.     o p.m.       on

          o as notified by the United States Marshal.
     It The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        It as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.

                                                                      RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                             to

 a                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL



                                                                              By -------==:=c:c=-:-~=;::_;;::;;_;_;:o:::;_;;__;_;_:_=~-----,--
                                                                                                    DEPUTY UNITED STATES MARSHAL
                 Case 4:07-cr-40029-JPG                  Document 287 Filed 02/19/09                    Page 3 of 6          Page ID
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
                                                                   #884
              Sheet 3 - Supervised Release

                                                                                                           Judgment-Page      3     of         10
DEFENDANT: JOHN G. JACKSON
CASE NUMBER: 4:07CR40029-004-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 4 years on Count 1 of the Indictment

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 ~ The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
   future substance abuse. (Check, if applicable.)

 rif The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 rif The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.)
o        as directed by the probatIOn officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

o        The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
        If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
AO 2458
            Case 4:07-cr-40029-JPG
          (Rev. 09/08) Judgment in a Criminal Case
                                                     Document 287 Filed 02/19/09         Page 4 of 6        Page ID
          Sheet 3C - Supervised Release                        #885
                                                                                           Judgment-Page   _4_ of        10
DEFENDANT: JOHN G. JACKSON
CASE NUMBER: 4:07CR40029-004-JPG

                                        SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $15.00 per month or
 ten percent of his net monthly income, whichever is greater, over a period of 40 months, to commence 30 days after
 release from imprisonment to a term of supervision.
 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, jUdgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.
 X Because of the defendant's history of gambling excessively, he shall not gamble or enter any facility where gambling is
 the primary business. The defendant shall sign a self exclusion form with one gaming facility in the state of residence and
 any adjoining states where legalized gambling is permitted. This form is a voluntary agreement to be temporarily banned
 from the facilities and the agreement is irrevocable during the period of supervision.


 X The defendant shall participate as directed by the probation officer in treatment for gambling addiction, which may
 include participation in a treatment facility and/or a gambling anonymous program. The defendant shall pay for the costs
 associated with treatment as directed and approved by the probation officer.
              Case 4:07-cr-40029-JPG                     Document 287 Filed 02/19/09                         Page 5 of 6      Page ID
AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties                    #886
                                                                                                         Judgment - Page __5__   of     10
DEFENDANT: JOHN G. JACKSON
CASE NUMBER: 4:07CR40029-004-JPG
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                          Fine                                  Restitution
 TOTALS           $ 100.00                                             $ 500.00                               $ 0.00


 o The determination of restitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AG 245C) will be entered
     after such determination.

 o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYIllent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.




 TOTALS                              $                          0.00           $                        0.00
                                                                                   ---------

 o    Restitution amount ordered pursuant to plea agreement $

 o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 r;t The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     r;t the interest requirement is waived for the r;t fine 0 restitution.
       o the interest requirement for the            o   fine   0      restitution is modified as follows:



 * Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A ofTitle 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
AO 2458        Case 4:07-cr-40029-JPG
           (Rev. 09/08) Judgment in a Criminal Case      Document 287 Filed 02/19/09                          Page 6 of 6           Page ID
           Sheet 6 - Schedule of Payments                          #887
                                                                                                                Judgment -   Page     6      of          10
DEFENDANT: JOHN G. JACKSON
CASE NUMBER: 4:07CR40029-004-JPG

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    riI Lump sum payment of $ _6_00_._0_0                   _ due immediately, balance due

           D     not later than                                      , or
           riI in accordance             D C,         D D,      D      E, or    r;t F below; or
B    D Payment to begin immediately (may be combined with                      DC,        D D, or       D F below); or
C    D    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    riI Special instructions regarding the payment of criminal monetary penalties:
           X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
           commencement of the term of supervised release. The defendant shall pay the fine in installments of $15.00 per
           month or ten percent of his net monthly income, whichever is greater, over a period of 40 months, to commence
           30 days after release from imprisonment to a term of supervision.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

r;/ The defendant shall forfeit the defendant's interest in the following property to the United States:
      See attached order



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
